Filed 8/26/24 P. v. Garibay CA2/7
   NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS
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IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                        SECOND APPELLATE DISTRICT

                                     DIVISION SEVEN


THE PEOPLE,                                                         B330504

         Plaintiff and Respondent,                                  (Los Angeles County
                                                                    Super. Ct. No. BA510065)
         v.

LOUIS ALBERTO GARIBAY,

         Defendant and Appellant.




      APPEAL from a judgment of the Superior Court of
Los Angeles County, David R. Fields, Judge. Affirmed.
      Ava R. Stralla, under appointment by the Court of Appeal,
for Defendant and Appellant.
      Rob Bonta, Attorney General, Lance E. Winters, Chief
Assistant Attorney General, Susan Sullivan Pithey, Senior
Assistant Attorney General, Wyatt E. Bloomfield and Lindsay
Boyd, Deputy Attorneys General, for Plaintiff and Respondent.
                                ________________________
                         INTRODUCTION

      Louis Alberto Garibay appeals from a judgment of
conviction for making a criminal threat against a security guard
patrolling Union Station in Los Angeles. He contends the record
lacks substantial evidence to support a finding the victim
experienced “sustained fear,” an element of the offense. Garibay
further contends the trial court erred in failing to instruct the
jury on the lesser-included offense of an attempted criminal
threat. Garibay argues the jury could reasonably have concluded
he did not complete the crime of making a criminal threat. We
conclude the trial court did not err, and affirm.

        FACTUAL AND PROCEDURAL BACKGROUND

      On November 22, 2022, the People filed an information
alleging Garibay made a criminal threat against Isamar
Gonzalez (Pen. Code, § 422).1 The People further alleged Garibay
engaged in violent behavior that indicated a serious danger to
society and that he was armed with a weapon. (Cal. Rules of
Court, rule 4.421(a)(2) &amp; (b)(1).)
      At trial, the prosecution presented testimony from
Gonzalez and other witnesses. Gonzalez testified she had been a
security guard since 2019 and had worked as a supervisor at
Union Station in Los Angeles for four months before the incident.
On October 22, 2022, at approximately 3:40 a.m., Gonzalez was
patrolling the area of Union Station East when Gonzalez heard

1       All undesignated statutory references are to the Penal
Code.




                                  2
Garibay yell obscenities about the police while looking in her
direction. She was wearing a blue uniform and testified she did
not think Garibay was directly speaking to her but she also “[felt]
like he was indirectly speaking to me, if that makes sense.”
       Garibay followed Gonzalez into an elevator, and Gonzalez
immediately exited because she thought to herself “this is
obviously not a good situation to be in.” Gonzalez recalled they
both looked at each other as she exited the elevator, and Garibay
gave her a “weird, goofy look.”
       Garibay followed Gonzalez out of the elevator. Once
outside, Gonzalez tried to assess the situation and whether
Garibay needed help. She then saw the blade of a three-and-a
half-inch knife glinting in the overhead lights. Garibay was
holding the knife in his hand toward the top of his thigh.
Gonzalez “froze because passengers were going by. . . . [She] did
not know if he intended to hurt [her], hurt himself or hurt
someone passing by.”
       When Gonzalez instructed a male passenger to move away
from the area, Garibay said, “oh setup,” which she understood to
mean she was trying to set him up. As Gonzalez tried to offer
Garibay help, Garibay walked toward her with the knife and
said, “I’m going to cut your . . . head off.” Garibay was about
10 to 12 feet away from Gonzalez when he made the threat.
Gonzalez believed Garibay was capable of causing her bodily
injury and took the threat seriously. She attempted to keep the
distance between them and started walking backwards, facing
Garibay, to the middle of a bus turnaround.
       Gonzalez called a code yellow using her radio, requesting
immediate assistance from security officers. She testified that
she would not call a code yellow unless she was “in fear” for her




                                 3
safety. She also knew a code yellow would cause security
personnel to “run” to provide assistance. Approximately five
security guards arrived at the scene. Garibay stood on top of a
bench and began “intimidating passengers” while brandishing
the knife.
      Gonzalez also called 911, and Los Angeles Police
Department officers responded. She estimated she called 911 five
to 10 minutes after Garibay said he would cut off her head.
Gonzalez testified that, since patrolling the station, she has
called 911 more than 10 times but does not typically call 911 if
deescalation is possible.
      After police officers arrived, Garibay attempted to flee, but
after a short chase, turned and faced the officers with the knife in
hand, took a fighting stance, and stepped toward the officers.
Officers tased Garibay, recovered the knife, and took him into
custody.
      Garibay waived his right to testify at trial. Garibay’s
defense was that there was insufficient evidence to prove he
intended his statements as threats or that they were clear,
immediate, unconditional, and specific enough to convey a serious
intention and immediate possibility of being carried out. He also
argued the evidence created reasonable doubt Gonzalez was in
sustained fear for her safety, pointing to the physical distance
between them at the time he made his threat, the repeated
nature of such incidents at her workplace, and her calm
demeanor during the 911 call.
      The jury found Garibay guilty of making a criminal threat
and also found true that he used a weapon in the commission of




                                 4
the crime.2 The court sentenced Garibay to the three-year upper
term. Garibay timely appealed.

                         DISCUSSION

A.     There Is Substantial Evidence To Support the Jury’s
       Finding Gonzalez Experienced Sustained Fear
       Garibay’s principal argument on appeal is that there is not
substantial evidence Gonzalez experienced sustained fear as a
result of his threat. We conclude the evidence was sufficient to
support the jury’s finding that Garibay’s threat to Gonzalez that
he would cut off her head, which he made while he brandished a
knife and advanced toward her, caused Gonzalez to reasonably
fear for her safety for a “period of time that extends beyond what
is momentary, fleeting, or transitory.” (People v. Allen (1995)
33 Cal.App.4th 1149, 1156 (Allen).)

       1.     Standard of Review and Governing Law
       “Claims challenging the sufficiency of the evidence to
uphold a judgment are generally reviewed under the substantial
evidence standard. Under that standard, “‘an appellate court
reviews the entire record in the light most favorable to the
prosecution to determine whether it contains evidence that is
reasonable, credible, and of solid value, from which a rational
trier of fact could find [the elements of the crime] beyond a
reasonable doubt.”’” (In re George T. (2004) 33 Cal.4th 620, 630-

2    On January 24, 2023, the trial court dismissed the serious
danger to society allegation made pursuant to California Rules of
Court, rule 4.421(b)(1).




                                5
631.) “In deciding the sufficiency of the evidence, a reviewing
court resolves neither credibility issues nor evidentiary conflicts.
[Citation.] Resolution of conflicts and inconsistencies in the
testimony is the exclusive province of the trier of fact. [Citation.]
Moreover, unless the testimony is physically impossible or
inherently improbable, testimony of a single witness is sufficient
to support a conviction.” (People v. Young (2005) 34 Cal.4th 1149,
1181.)
       In order to prove the crime of criminal threats in “violation
of section 422, the prosecution must establish all of the following:
(1) that the defendant ‘willfully threaten[ed] to commit a crime
which will result in death or great bodily injury to another
person,’ (2) that the defendant made the threat ‘with the specific
intent that the statement . . . is to be taken as a threat, even if
there is no intent of actually carrying it out,’ (3) that the threat—
which may be ‘made verbally, in writing, or by means of an
electronic communication device’—was ‘on its face and under the
circumstances in which it [was] made, . . . so unequivocal,
unconditional, immediate, and specific as to convey to the person
threatened, a gravity of purpose and an immediate prospect of
execution of the threat,’ (4) that the threat actually caused the
person threatened ‘to be in sustained fear for his or her own
safety or for his or her immediate family’s safety,’ and (5) that the
threatened person’s fear was ‘reasonabl[e]’ under the
circumstances.” (People v. Toledo (2001) 26 Cal.4th 221, 227-228
(Toledo).)
       Garibay challenges only the fourth element that the threat
actually caused Gonzalez to be in sustained fear for her own
safety. Fear is “sustained” within the meaning of section 422 if it
lasts for a “period of time that extends beyond what is




                                 6
momentary, fleeting, or transitory.” (Allen, supra,
33 Cal.App.4th at p. 1156 [15 minutes was “more than sufficient”
to show sustained fear where the defendant was “armed, mobile,
and at large” and had threatened to kill the victim and her
daughter]; accord, People v. Fierro (2010) 180 Cal.App.4th 1342,
1349 (Fierro) [the one minute during which the defendant
threatened to kill the victim and displayed what appeared to be a
gun in his waistband was sufficient to establish the victim was in
sustained fear]; see People v. Culbert (2013) 218 Cal.App.4th 184,
188 [substantial evidence supported a finding of sustained fear
when the victim saw the defendant bring in a gun, hold it to the
victim’s head, and pull the trigger, notwithstanding the
defendant’s contention the gun was not loaded and there was
only a “split second” between the time he held it to the victim’s
temple and he pulled the trigger].)

      2.    Analysis
      Garibay contends the evidence was insufficient to support
the element of sustained fear because a person in Gonzalez’s
position—“a security guard supervisor” who “was used to seeing
individuals acting in strange ways”—would not reasonably be in
sustained fear even if she experienced an instant of fear when
she saw the knife.3 Garibay argues Gonzalez testified she was in

3     To the extent Garibay challenges the reasonableness of
Gonzalez’s fear because she was a security guard, he has forfeited
any such argument by failing to present any argument or legal
authorities in support. (See People v. Hovarter (2008) 44 Cal.4th
983, 1029; People v. Stanley (1995) 10 Cal.4th 764, 793.) In all
events, it is clear that being a security guard does not preclude
Gonzalez from being in reasonable fear for her life. (See People v.




                                7
fear when he threatened to cut her head off but “within minutes
she segued into professional work mode, radioed for another
supervisor, and called 911.” He highlights Gonzalez’s calm
demeanor when speaking to the 911 operator and her testimony
that she thought Garibay needed help as demonstrating that
Gonzalez was not in sustained fear. Garibay’s argument is
unpersuasive.
      Gonzalez testified that five to 10 minutes elapsed between
the time Garibay threatened to cut her head off and when she
called 911. Gonzalez testified she believed Garibay could carry
out his threat and that she feared for her safety and that of
others. During this five- to 10-minute time period, Garibay
advanced towards Gonzalez, brandishing a knife. She testified
she retreated, walking backwards to keep him in her sight and to
maintain some distance between them. She also called a code
yellow on her radio for immediate assistance from security
guards. She testified she would not call a code yellow “for
nothing” and that security guards “run for code yellow,”
demonstrating her view that the situation was urgent. This is
more than substantial evidence for a reasonable jury to make a
finding Gonzalez was in sustained fear for a “period of time that
extends beyond what is momentary, fleeting, or transitory.”
(Allen, supra, 33 Cal.App.4th at p. 1156.)




Wilson (2010) 186 Cal.App.4th 789, 817 [inmate’s threats
reasonably placed correctional officer in sustained fear]; People v.
Mosley (2007) 155 Cal.App.4th 313, 324-325 [similar re sheriff’s
deputies].)




                                 8
       Indeed, even under Garibay’s own version of the events
that night, Gonzalez’s fear lasted only “minutes” until “she
segued into professional work mode.” But the law recognizes that
even one minute of fear or less is sufficient to constitute
sustained fear for purposes of the criminal threats statute. (See,
e.g., Culbert, supra, 218 Cal.App.4th at p. 190 [“split second”
sufficient]; Fierro, supra, 180 Cal.App.4th at p. 1349 [one minute
sufficient].)
       Garibay further contends the evidence supports a finding
Gonzalez did not experience fear beyond the moment she saw the
knife, citing her calm demeanor during the 911 call and her
attempt to determine whether he needed help. That Gonzalez
handled the situation with poise and professionalism does not
mean she did not experience sustained fear for her safety.
Gonzalez clearly testified that she feared for her safety during
her encounter with Garibay. In all events, we do not reweigh the
evidence on appeal, and our role is merely to determine whether
substantial evidence supported the jury’s finding of sustained
fear. (See In re George T., supra, 33 Cal.4th at p. 631; Fierro,
supra, 180 Cal.App.4th at p. 1347.) We conclude there was more
than sufficient evidence supporting the jury’s finding that
Garibay’s threat to Gonzalez that he would cut her head off while
he was carrying a knife actually caused Gonzalez to be in
sustained fear for her safety.

B.    The Court Had No Duty To Instruct on the Lesser-included
      Offense of Attempted Criminal Threat
      Garibay also argues the trial court had a sua sponte duty to
instruct the jury with the lesser-included offense of attempted
criminal threat and erred by not doing so.




                                9
      “A trial court has a sua sponte duty to instruct the jury on
a lesser included uncharged offense if there is substantial
evidence that would absolve the defendant from guilt of the
greater, but not the lesser, offense. [Citation.] Substantial
evidence is evidence from which a jury could conclude beyond a
reasonable doubt that the lesser offense was committed.
[Citations.] Speculative, minimal, or insubstantial evidence is
insufficient to require an instruction on a lesser included offense.”
(People v. Simon (2016) 1 Cal.5th 98, 132 (Simon).) A lesser-
included instruction need not be given when there is no evidence
that the offense is less than that charged. (See People v.
Mendoza (2000) 24 Cal.4th 130, 174.) Our review is de novo.
(See Simon, at p. 132; People v. Manriquez (2005) 37 Cal.4th 547,
584.)
      Attempted criminal threat is a lesser-included offense of
the completed offense of making a criminal threat. (See Toledo,
supra, 26 Cal.4th at p. 226; In re Sylvester C. (2006)
137 Cal.App.4th 601, 610.) A defendant commits an attempted
criminal threat if he or she takes all steps necessary to complete
the crime, but a fortuity intervenes to prevent the completion; for
example, a written threat is intercepted, or the threat is received,
but the intended victim either misunderstands the threat or “for
whatever reason, the threat does not actually cause the
threatened person to be in sustained fear for his or her safety
even though, under the circumstances, that person reasonably
could have been placed in such fear.” (Toledo, at p. 231.)
      According to Garibay, there was substantial evidence his
threat did not actually cause Gonzalez to experience sustained
fear because Gonzalez acted calmly and professionally. Gonzalez
immediately radioed for assistance from other security guards




                                 10
and also called 911. Gonzalez told the 911 operator, “Yeah, I’m
okay. I’m just kinda startled.” Gonzalez simultaneously spoke
with the 911 operator, engaged with the other security
supervisor, stated that a police vehicle had arrived, and also
stated police officers may be needed for an unrelated event
involving another individual at Union Station who was “‘stabbing
poles.’”
       Again, Gonzalez’s calm and professional demeanor does not
mean she did not fear for her safety when Garibay told her he
would cut her head off while he was carrying a knife. Indeed,
Garibay relies only on Gonzalez’s conduct during the 911 call,
which took place five to 10 minutes after the threat from Garibay
and after other security guards had arrived on the scene, as
evidence Gonzalez had no sustained fear. As discussed above,
her testimony was sufficient evidence demonstrating she had
sustained fear in the time period before the 911 call. Gonzalez
testified she feared for her safety when she saw Garibay holding
a knife. He threatened to cut off her head and she believed he
could do it. He then advanced towards her with the knife as she
attempted to move away from him. She called a code yellow,
which she knew would cause other security guards to run
towards her. There is no evidence from which the jury could
conclude Gonzalez did not fear Garibay for the five to 10 minutes
before she called 911.
       In short, Garibay’s reliance on Gonzalez’s demeanor and
conduct during and after the 911 call is misplaced. Garibay has
not demonstrated the trial court erred by not instructing the jury
on attempted criminal threat under these circumstances.




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                       DISPOSITION

     The judgment is affirmed.




                                  MARTINEZ, P. J.

We concur:




     FEUER, J.




     STONE, J.




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